Filed 09/15/22                                   Case 19-01033                                          Doc 445


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            10
                                          UNITED STATES BANKRUPTCY COURT
            11
                                            EASTERN DISTRICT OF CALIFORNIA
            12
                                                    FRESNO DIVISION
            13                                           )
                 In re                                   )    Case No. 18-11651- B
            14                                           )    (Chapter 11)
                 GREGORY J. te VELDE,                    )
            15                                           )    AP Case No. 19-01033-B
                                       Debtor.           )
            16                                           )    DCN: MB-5

            17   RANDY SUGARMAN, Chapter 11 Trustee )            MEMORANDUM OF POINTS AND
                 in Bankruptcy of the Estate of GREGORY J. )     AUTHORITIES IN SUPPORT OF
            18   te VELDE,                                 )     PLAINTIFF’S SECOND MOTION FOR
                                                           )     PARTIAL SUMMARY JUDGMENT
            19                         Plaintiff,          )
                                                           )     Hearing Date: 10/26/22
            20   v.                                        )     Time: 11:00 a.m.
                                                           )     Place: 2500 Tulare St., 5th Flr.
            21   IRZ CONSULTING SERVICES, LLC;             )            Courtroom 13
                                                           )     Hon. Rene Lastreto II
            22                         Defendant.          )
                                                           )
            23   AND RELATED THIRD PARTY                   )
                 COMPLAINT                                 )
            24

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                 10715.msj.mpa.2.wpd                                                                1
Filed 09/15/22                                                    Case 19-01033                                                                          Doc 445


                                                                    TABLE OF CONTENTS
             1
                 TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
             2
                 INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
             3
                 FACTUAL AND PROCEDURAL BACKGROUND . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
             4
                 SUMMARY JUDGMENT STANDARD. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
             5
                 ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
             6
                 1.         UNDER ESTABLISHED PRINCIPLES OF CONTRACT INTERPRETATION, AS
             7              APPLIED BY OREGON COURTS, THE LIMITATION OF LIABILITY PROVISIONS
                            DO NOT BAR PLAINTIFF’S CLAIMS FOR BREACH OF CONTRACT . . . . . . . . . . . . 8
             8
                 2.         UNDER THE PECULIAR FACTS OF THIS CASE, THE LIMITATION OF
             9              LIABILITY PROVISIONS ARE VOID AS AGAINST PUBLIC POLICY . . . . . . . . . . . 11

            10              A.         The Limitation of Liability Provisions Are Void Because the Services
                                       Specified in the Two Contracts Affect the Public Welfare. . . . . . . . . . . . . . . . . . . 11
            11
                            B.         The Limitation of Liability Provision in the 9/30/15 Work Order is
            12                         Void Because That Contract Was Illegal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

            13   3.         THE LIMITATION OF LIABILITY PROVISIONS DO NOT BAR
                            ANY OF PLAINTIFF’S CLAIMS FOR RELIEF UNDER THE OREGON DOCTRINE
            14              OF PROCEDURAL UNCONSCIONABILITY . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

            15

            16   CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

            17

            18

            19

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            21

            22

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            25

            26

            27

            28

                 10715.msj.mpa.2.wpd                                                                                                                2
Filed 09/15/22                                                 Case 19-01033                                                                      Doc 445


                                                               TABLE OF AUTHORITIES
             1   CASES

             2   A.J. Properties, LLC v. Stanley Black & Decker Inc.,
                        989 F.Supp.2d 156 (D. Mass 2013). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
             3
                 Anderson v. Ashland Rental, Inc.,
             4         122 Or.App.508, 510 (1993)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

             5   Anderson v., Liberty Lobby, Inc.
                       477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91 L.Ed 2d 202 (1986) . . . . . . . . . . . . . . . . . . . 8
             6
                 Bagley v. Mt. Bachelor, Inc.,
             7          356 Or. 543, 557- 558 (2014) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

             8   Celotex Corp. v. Catrett
                        477 U.S. 317, 323-324, 106 S.Ct. 2548, 2553, 91 L.Ed 2d 265 (1986) . . . . . . . . . . . . . . . . 8
             9
                 Creditors’ Protective Assn v. Baksay,
            10          32 Or. App. 323 (1978). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

            11   Estey v. MacKenzie Engineering,
                         324 Or. 372, 927 P.2d 86 (1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9,10,11
            12
                 Hoskins v. Inspector, LLC,
            13         154 Or.App.136, 961 P.2d 261 (1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10,11

            14   J. Lilly, LLC v. Clearspan Fabric Structures International Inc.,
                          2020 WL 1855190 (D.C. D. Or. 2020) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13,14
            15
                 Kaste v. Land O’Lake Purina Feeds, LLC,
            16          284 Or.App. 233 (2017) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

            17   Kennan v. Allen
                       91 F.3d 1275, 1279 (9th Cir. 1996 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
            18
                 Mann v. Wetter,
            19         100 Or. App. 184, 187 (1990). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

            20   Metro Prop. & Cas. v. Harper,
                        168 Or. App. 358, 369, 7 P.2d 541, 548 (2000) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
            21
                 Pincetech v. Nolan,
            22          252 Or.App. 42, 285 P.3d 759 (2012). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

            23   Roberts v. Heating Specialist, Inc.,
                        2014 WL 3845877 (D.C. D.Or. 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9,10
            24
                 Tarin v. County of Los Angeles,
            25          123 F.3d 1259, 1263 (9th Cir. 1997) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

            26   Tokyo Ohka Kogyo America v. Huntsman Propylene Oxide, LLC,
                       35 F.Supp.3d 1314 (D. Or. 2014) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13,14
            27

            28

                 10715.msj.mpa.2.wpd                                                                                                         3
Filed 09/15/22                                                     Case 19-01033                                                                             Doc 445


                 STATUTES AND RULES
             1
                 Federal Rules of Civil Procedure
             2          Rule 56 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

             3   Federal Rules of Bankruptcy Procedure
                        Rule 7056 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
             4

             5   TEXTS

             6   Restatement.2d. Contracts. Section 195(2)(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

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                 10715.msj.mpa.2.wpd                                                                                                                    4
Filed 09/15/22                                            Case 19-01033                                                     Doc 445



             1
                                                                INTRODUCTION
             2
                            The question presented by this Motion is whether a two provisions in the design and
             3
                 construction contracts executed by the Debtor which purport to limit the Plaintiff Trustee’s
             4
                 damages to $550,000 are enforceable under Oregon law. As will be shown below, the answer to
             5
                 that question is “No”.
             6
                                              FACTUAL AND PROCEDURAL BACKGROUND
             7
                            The Debtor Gregory te Velde was an experienced third generation dairyman who owned
             8
                 and operated two large dairies in Tulare County. Realizing the dim long-term water situation in
             9
                 the Central Valley, he sought to expand his operations to the Columbia River basin in Eastern
            10
                 Oregon near the Tillamook facilities.
            11
                            In mid 2015, te Velde sought to develop a 7500 +/- tree farm, “the Lost Valley Farm”,
            12
                 into a state- of-the art dairy capable of supporting a herd of 30,000 cattle. Unlike the Debtor’s
            13
                 Central Valley dairies, the Lost Valley Farm had essentially unlimited access to water. However,
            14
                 it was located in an environmentally sensitive area subject to intense regulation from various
            15
                 agencies of the State of Oregon. This required the installation of an extremely effective waste
            16
                 management system. (Statement of Undisputed Facts 5, 10 & 11).
            17
                            On September 30, 2015, the te Velde entered into a “Work Order” with a company known
            18
                 as “IRZ Construction Division, an Oregon limited liability company (“ICD”)” to provide what
            19
                 was essentially a feasibility study for the design of the dairy and the qualification for the necessary
            20
                 governmental entitlements. (SUF 1). The 9/30/15 “Work Order” provided that ICD would
            21
                 furnish the following services to teVelde over a 3 month period:
            22
                            •          “GPS generated site map with elevations
            23
                            •          Site Plan with structure, corral, and waste handling component location
            24
                            •          Preliminary grading plan to be used for mass excavation calculations
            25
                            •          Preliminary infrastructure plan to include on site drain lines, underground
            26
                                       water lines and underground power lines
            27
                            •          Preliminary effluent water flow line plan to include lines from site drainage,
            28

                 10715.msj.mpa.2.wpd                                                                                    5
Filed 09/15/22                                             Case 19-01033                                                   Doc 445


                                       structures, corrals, and effluent handling components to the lagoon system
             1
                            •          Preliminary lagoon design detailed enough to satisfy CAFO application
             2
                                       requirements...” (Declaration of John MacConaghy, Ex. 1, IRZ bates stamp
             3
                                       p. 1487)
             4
                            The estimated costs of these services was $100,000. Id.
             5
                            The contract contained the following provision concerning liabilities:
             6
                                       Liabilities: The client agrees to limit ICD’s liability to the client and
             7                         to all construction contractors and subcontractors on the project, due
                                       to ICD’s or any employee of ICD’s negligent acts, errors, or
             8                         omissions, such that the total aggregate limit of ICD to all of those
                                       names shall not exceed $50,000, or the amount of ICD’s fees,
             9                         whichever is less.

            10              See Declaration of John MacConaghy, Ex. , IRZ bates stamp p. 1488).

            11              As of 9/30/15, ICD was not a recognized legal entity in the State of Oregon or anywhere

            12   else. According to a recent Westlaw search, it was not organized as an Oregon LLC until

            13   10/31/17; nor has it ever been a licensed contractor in the State of Oregon. (SUF 4).

            14              On November 17, 2015, the parties signed a second agreement. This one was with “IRZ

            15   Consulting, LLC (DBA IRZ Construction Division)” (“Consulting”) The first section of the

            16   Agreement was entitled “Design, Engineer, and Project Management Services for Greg Tevelde

            17   Willow Creek Dairy Construction Project November 2015". It set forth the following general

            18   obligation on behalf of Consulting:

            19                         PROJECT OBJECTIVE

            20                         ICD will assist the OWNER to make sure that the project is designed and
                                       constructed to operate at maximum efficiencies while using quality
            21                         materials and qualified personnel to minimize costs and achieve a long
                                       lasting and sustainable project.
            22
                                       ICD will act on behalf of Owner and will oversee all tasks associated with
            23                         the project. These tasks may include but are not limited to, maintaining
                                       relationships with all governmental entities and assist in securing all
            24                         necessary permits and approvals.....Insure that the project is constructed to
                                       the quality and standards set forth by the industry... (SUF 6; Decl.
            25                         MacConaghy, Ex. 4, IRZ bates stamp p.1426).

            26               The Agreement goes on to list 21 specific tasks, including site design, structure design,

            27   “Review and engineer all relevant structural designs...”, “Review and engineer all relevant civil

            28   site design...”, and a number of other “design”, “engineering”, and “construction” tasks. It was

                 10715.msj.mpa.2.wpd                                                                                   6
Filed 09/15/22                                            Case 19-01033                                                   Doc 445


                 estimated that the process would take 24-28 months. (SUF 6; Decl. MacConaghy, Ex. 4, IRZ bates
             1
                 stamp pp. 1426 - 1434).
             2
                            The second part of the agreement starting at page 10 of the printed document was entitled
             3
                 “Agreement between Owner and ICD for Services”. This contained largely boilerplate and
             4
                 provided for payment on a time incurred basis.
             5
                            Section 6.01 A of this part contained the following provision:
             6
                                       ICD Liability: It is agreed by OWNER and ICD that ICD may be
             7                         liable for damages directly caused by negligent acts, errors, and
                                       omissions made by ICD. Under no circumstances shall that amount
             8                         exceed $500,000 or the amount of ICD’s fees, whichever is lower.
                                       Under no circumstances shall ICD be liable for negligent acts, errors
             9                         and omissions of OWNER or SUBCONTRACTORS. (SUF 7; Decl.
                                       MacConaghy, Ex. 4, IRZ bates stamp p. 1438)
            10

            11
                            Although it uses the term “ICD”, the 11/17/15 Agreement states that it is executed by IRZ
            12
                 Consulting, LLC dba IRZ Construction Division. (Id, IRZ bates stamp p. 1440). At the time,
            13
                 Consulting was a duly organized Oregon LLC and a licensed contractor.
            14
                            Consulting commenced work. TeVelde defaulted in payment. In mid-2017, Consulting
            15
                 walked off the job for nonpayment. Consulting had been paid approximately $850,000, but
            16
                 claimed to be owed $393,000 as of that date. On 9/25/17 they recorded a mechanics lien, and on
            17
                 9/27/17 they filed their Morrow Superior Court action to enforce the lien and recover $393,000
            18
                 plus interest at 18%. (See IRZ Main Case Proof of Claim No. 19, attached as Exhibit 1 to the
            19
                 Complaint herein). This action was stayed by the filing of TeVelde’s Chapter 11.
            20
                            After the Chapter 11 was filed, IRZ filed a Proof of Claim for the amounts allegedly owed.
            21
                 On March 8, 2019, the Trustee filed his action objecting to the claim of IRZ and seeking damages
            22
                 for negligence and breach of contract in excess of $18 million.
            23
                            IRZ has asserted in its Answer that the limitation of liability language set forth above is
            24
                 enforceable against the Estate, Dkt. No. 137 herein, p. 2:1-3
            25
                                                    SUMMARY JUDGMENT STANDARD
            26
                            Bankruptcy Rule 7056 and F.R.Civ.P 56(c) require summary judgment for the moving
            27
                 party when the evidence, viewed in the light most favorable to the nonmoving party, shows that
            28

                 10715.msj.mpa.2.wpd                                                                               7
Filed 09/15/22                                        Case 19-01033                                                  Doc 445


                 there is no genuine issue as to any material fact, and that the moving party is entitled to judgment
             1
                 as a matter of law, Tarin v. County of Los Angeles 123 F.3d 1259, 1263 (9th Cir. 1997). The
             2
                 moving party bears the initial burden of establishing the absence of a genuine issue of material
             3
                 fact, Celotex Corp. v. Catrett 477 U.S. 317, 323-324, 106 S.Ct. 2548, 2553, 91 L.Ed 2d 265
             4
                 (1986).
             5
                            That burden may be met by “showing” — that is, pointing out to the court — that there is
             6
                 an absence of evidence to support the nonmoving party’s case, id at 325, 106 S.Ct. at 2554. Once
             7
                 the moving party has met its initial burden, Rule 56(e) requires the nonmoving party to go beyond
             8
                 the pleadings and identify facts that show a genuine issue for trial, Anderson v. Liberty Lobby, Inc.
             9
                 477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91 L.Ed 2d 202 (1986).
            10
                            In deciding a motion for summary judgment, the Court is not obligated “to scour the record
            11
                 in search of a genuine issue of triable fact. [The Court relies] on the nonmoving party to identify
            12
                 with reasonable particularity the evidence that precludes summary judgment.” Kennan v. Allen 91
            13
                 F.3d 1275, 1279 (9th Cir. 1996). Only genuine disputes — where the evidence is such that a
            14
                 reasonable trier of fact could return a decision for the nonmoving party will properly preclude the
            15
                 entry of summary judgment, Anderson, supra, at 477 U.S. p. 248, 106 S.Ct. at 2510.
            16
                 F.R.Civ.P. 56(g) provides that when summary judgment as to the entire case is inappropriate, the
            17
                 Court “...may enter an order stating any material fact – including an item of damages or other
            18
                 relief –that is not genuinely in dispute and treating the fact as established in the case.”
            19
                            Here, as will be shown below, a number of the cases adjudicating the enforceability of
            20
                 these limitation of liability clauses did so on a Motion for Summary Judgment. This issue is
            21
                 amenable for resolution by summary adjudication.
            22

            23
                                                              ARGUMENT
            24
                            1.         UNDER ESTABLISHED PRINCIPLES OF CONTRACT
            25                         INTERPRETATION, AS APPLIED BY OREGON COURTS, THE
                                       LIMITATION OF LIABILITY PROVISIONS DO NOT BAR
            26                         PLAINTIFF’S CLAIMS FOR BREACH OF CONTRACT

            27              Under Oregon law, these limitation of liability/damages clauses are analyzed on two

            28   separate criteria. The first is contract interpretation to determine whether the language in question

                 10715.msj.mpa.2.wpd                                                                           8
Filed 09/15/22                                             Case 19-01033                                              Doc 445


                 covers the claims at issue.
             1
                            The leading case in Oregon on the enforceability of liability/damages limitations using this
             2
                 criterium is Estey v. MacKenzie Engineering, 324 Or. 372, 927 P.2d 86 (1996). In that case the
             3
                 Plaintiff contracted with the Defendant, a licensed PE, to perform a pre-sale property inspection.
             4
                 After the Plaintiff purchased the property he discovered that he would be obligated to pay
             5
                 $340,000 to repair defects not picked up by the Defendant. He then sued for breach of contract
             6
                 and negligence. It its defense, the Defendant relied on a limitation of liability provision in the
             7
                 contract which stated, “The liability of MEI and the liability of its employees are limited to the
             8
                 Contract Sum [i.e., $200.00].” The trial court granted summary judgment for the Defendant, but
             9
                 the Oregon Supreme Court reversed, stating at p. 376:
            10

            11                         Defendants argue that the clause at issue in this case clearly and
                                       unequivocally expresses the parties’ intent that defendants’ liability
            12                         for negligence be limited to the contract sum and, therefore, it is
                                       unenforceable. Defendants further argue that they did not assume a
            13                         duty of public service by entering into the contract and, therefore,
                                       principles of public policy do not justify the validation of the clause.
            14
                                       In K-Lines Inc c. Roberts Motor Co., 273 Or. 242, 248, 541 P.2d
            15                         1378. (1975), this court held, “Agreements to exonerate a party from
                                       liability or to limit the extent of the party’s liability for tortious
            16                         conduct are not favorites of the courts but neither are they
                                       automatically voided. The treatment courts accord such agreements
            17                         depends upon the subject and terms of the agreement and the
                                       relationship of the parties.
            18
                            The Estey court concluded that in that particular case it would not enforce the limitation of
            19
                 liability for two reasons, stating at p. 379:
            20

            21                         First, the word “liability” standing alone, is less encompassing than
                                       the broad disclaimer found in Layman, which was held not to apply
            22                         against a negligence claim. In this case, plaintiff might have
                                       reasonably interpreted “liability” to refer only to liability arising
            23                         from breach of contract, or from a reasonable failure to discover
                                       latent defects, or from property damage resulting from the review
            24                         itself. Given the reasonable possibility of such limited
                                       interpretations, we cannot conclude that the parties “clearly and
            25                         unequivocally” intended a broader interpretation that would have
                                       required plaintiff to bear the risk of defendants’ negligence.
            26
                                       Second,...in the context of having to make such an important
            27                         decision [buy a house], plaintiff would most likely not have
                                       understood the limitation of liability clause to effectively immunize
            28                         defendants from liability for negligently rendering a flawed report.

                 10715.msj.mpa.2.wpd                                                                              9
Filed 09/15/22                                            Case 19-01033                                                Doc 445


                                       Defendants’ attempt to characterize the contract as a “high-risk, low
             1                         cost” transaction does not persuade us that plaintiff, a lay consumer,
                                       should bear the risk of the alleged negligence of a licensed
             2                         professional engineer.

             3              Estey was followed in Hoskins v. Inspector, LLC, 154 Or.App.136, 961 P.2d 261 (1998),

             4   where the Court refused to enforce a more detailed waiver of liability in a home inspection report.

             5   Applying Oregon law, a Federal Court declined to enforce an even broader clause in Roberts v.

             6   Heating Specialist, Inc., 2014 WL 3845877 (D.C. D.Or. 2014), The Defendant in that case

             7   installed a new boiler in a building owned by a Chapter 11 Trustee. There was a subsequent

             8   mercury leak. The EPA made a claim for $124,000 in clean up costs. The Trustee then sued the

             9   heating contractor. The defendant relied on the following release language contained in the

            10   service contract:

            11
                                       Liability Disclaimer – in no event shall The Heating Specialist Inc.
            12                         be liable for any incidental or consequential damages resulting from
                                       the use, misuse, or inability to use the products and services of the
            13                         Company. This exclusion applies regardless of whether such
                                       damages are sought based on breach of warranty, breach of contract,
            14                         negligence, strict liability in tort, or any other legal theory. Should
                                       The Heating Specialist Inc. be found liable for any such damages,
            15                         they shall be limited to the purchase price of the equipment.

            16              The District Court concluded that the most reasonable interpretation of this language is

            17   that it only protected the contractor from claims arising out of the customer’s use or misuse of the

            18   boiler, and it did not apply to environmental contamination caused by the defendant. Another case

            19   voiding a limitation of liability clause based on Estey is Kaste v. Land O’Lake Purina Feeds, LLC,

            20   284 Or.App. 233 (2017), where the Plaintiff was entitled to recover breach of contract damages up

            21   to the limit in the contract, but also unlimited tort damages.

            22              Turning to our case, the limitation of liability clauses used by both ICD and Consulting do

            23   expressly use the word “negligence.” However, in the reverse of Estey and Hoskins, there is

            24   nothing in either contract that releases ICD/Consulting from liability for general and

            25   consequential damages for breach of contract. Here, Consulting undertook a contractual

            26   obligation “...to make sure that the project is designed and constructed to operate a maximum

            27   efficiencies while using quality materials and qualified personnel to minimize costs and achieve a

            28   long lasting and sustainable project.” (Decl. MacConaghy, Ex. 4, IRZ bates stamp p.1426).

                 10715.msj.mpa.2.wpd                                                                             10
Filed 09/15/22                                            Case 19-01033                                                 Doc 445


                 There was an implied covenant in the ICD contract that the services listed would be performed
             1
                 competently. The disclaimer language inserted by ICD and Consulting purports to limit recovery
             2
                 for negligence only, not breach of contract. (Decl. MacConaghy, Ex. 1, IRZ bates stamp p. 1488;
             3
                 Ex. 4, IRZ bates stamp p. 1436) Under the Estey, Hoskins, and Roberts cases, the failure of the
             4
                 disclaimer language to expressly reference a breach of contract cause of action allows that claim
             5
                 to proceed unimpeded.
             6

             7              2.         UNDER THE PECULIAR FACTS OF THIS CASE, THE
                                       LIMITATION OF LIABILITY PROVISIONS ARE VOID AS
             8                         AGAINST PUBLIC POLICY

             9
                                       A.     The Limitation of Liability Provisions Are Void
            10                                Because the Services Specified in the Two
                                              Contracts Affect the Public Welfare
            11
                            Oregon courts have repeatedly held that the general rule in that jurisdiction is that an
            12
                 injured party is entitled to all damages which flow from a breach of contract; e.g., Metro Prop. &
            13
                 Cas. v. Harper, 168 Or. App. 358, 369, 7 P.2d 541, 548 (2000). Thus, “...agreements to limit
            14
                 liability are not favored.” Mann v. Wetter, 100 Or. App. 184, 187 (1990). However, as noted in
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                 Estey, supra, they are not void per se.
            16
                            One instance where they are void is contracts affecting the public welfare. This rule is
            17
                 contained in Restatement.2d. Contracts. Section 195(2)(b):
            18
                                       A term exempting a party from tort liability for harm caused
            19                         negligently is unenforceable on grounds of public policy if
                                       ( b) the term exempts one charged with a duty of public service from
            20                         liability to one that duty is owed for compensation for breach of that
                                       duty.
            21
                            Oregon courts have adopted this principle of the Restatement, Bagley v. Mt.
            22
                 Bachelor, Inc., 356 Or 543, 557- 558 (2014) [When “one of the parties is charged with a duty of
            23
                 public service, and the bargain relates to negligence in the performance of any part of its duty to
            24
                 the public, for which it has received or been promised compensation,” then “exemption from the
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                 consequences of negligence is illegal.” See also, Anderson v. Ashland Rental, Inc., 122
            26
                 Or.App.508, 510 (1993).
            27
                            A closely analogous out of state case is A.J. Properties, LLC v. Stanley Black & Decker
            28

                 10715.msj.mpa.2.wpd                                                                               11
Filed 09/15/22                                              Case 19-01033                                                  Doc 445


                 Inc. 989 F.Supp.2d 156 (D. Mass 2013). There, a party under a contract requiring him to perform
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                 environmental remediation was sued and sought to enforce a waiver of remedies. The Court held
             2
                 that the waiver was unenforceable because his contractual duties were a public service.
             3
                            There is a strong public policy component to the services ICD/Consulting were to perform
             4
                 for te Velde. The CAFO was issued only after a period of intense public scrutiny due to the
             5
                 fragility of the ground water system and other environmental concerns. See Declaration of Randy
             6
                 Sugarman.             It is clear from the text of the ICD/Consulting contracts, that protecting groundwater
             7
                 and other environmental compliance was a key objective (and responsibility of both te Velde and
             8
                 ICD/Consulting. Given these paramount public welfare concerns, ICD/Consulting could not limit
             9
                 their liability for their own errors and omissions.
            10
                                        B.      The Limitation of Liability Provision in the
            11                                  9/30/15 Work Order is Void Because That
                                                Agreement Was An Illegal Contract With An
            12                                  Unlicensed, Non-existent Entity

            13              The second public policy concern of the State of Oregon the 9/30/15 Work Order violated

            14   was the policy against construction contracts by unlicensed entities, see Pincetech v. Nolan, 252

            15   Or.App. 42, 285 P.3d 759 (2012). Likewise an entity that is not duly organized or incorporated

            16   has no power to contract or be sued, Creditors’ Protective Assn v. Baksay, 32 Or. App. 323

            17   (1978).

            18              Here, ICD was an unlicensed, non-existent legal entity at the time it executed the “Work

            19   Order” with the Debtor. It was thus an illegal contract which cannot be enforced against the

            20   Estate.

            21

            22              3.          THE LIMITATION OF LIABILITY PROVISIONS DO NOT BAR
                                        ANY OF PLAINTIFF’S CLAIMS FOR RELIEF UNDER THE OREGON
            23                          DOCTRINE OF PROCEDURAL UNCONSCIONABILITY

            24
                            Independent from the contractual interpretation theory of the Estey line of cases, these
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                 limitation of liability clauses are regularly attacked and voided under something called
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                 “procedural unconscionability”. We normally think of “unconscionability” as a substantively
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                 oppressive consumer contract; e.g., a consumer allows a lien on his car to secure payment over
            28

                 10715.msj.mpa.2.wpd                                                                                  12
Filed 09/15/22                                            Case 19-01033                                                Doc 445


                 time on a defective television. “Procedural unconcionability” is something different.
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                            The doctrine is discussed in Tokyo Ohka Kogyo America v. Huntsman Propylene Oxide,
             2
                 LLC, 35 F.Supp.3d 1314 (D. Or. 2014):
             3
                                       ...an agreement may be either procedurally or substantively
             4                         unconscionable. Generally speaking, procedural unconscionability
                                       refers to the circumstances surrounding the adoption of the
             5                         provision at issue and substantive unconscionability refers to the
                                       fundamental fairness of the provision itself [citation].
             6

             7              Turning to Oregon law, the Court continued:

             8                         Under Oregon law, procedural unconscionability focuses on the
                                       factors of oppression and surprise. [citation]. Oregon courts explain
             9                         these factors as : Oppression exists when there is inequality of
                                       bargaining power between the parties, resulting in no real
            10                         opportunity to negotiate the terms of the contract and the absence of
                                       meaningful choice. Surprise involves the question whether the
            11                         allegedly unconscionable terms were hidden from the party seeking
                                       to avoid them. [citation].
            12

            13              The Court went on to conclude that “surprise” was involved there because, the language

            14   was “... a boilerplate damages limitation attached to a Credit Application without any bargaining

            15   or discussion and without the seller calling the buyer’s attention to its terms.”“ The Court further

            16   noted at the Credit Application containing the limitation was executed two years before the

            17   specific sales order involving the defective goods. Based on these facts, the Court concluded that

            18   the limitation of damages provision was unenforceable.

            19              An example of a recent case enforcing a limitation of liability is J. Lilly, LLC v. Clearspan

            20   Fabric Structures International Inc., 2020 WL 1855190 (D.C. D. Or. 2020). The Plaintiff in that

            21   case entered into a contract to lease and have built a commercial greenhouse to grow cannabis in

            22   Oregon. The total lease payments were around $280,000 and the cost of the greenhouse was

            23   $290,000. The construction contract for the greenhouse contained the following provisions:

            24                         Mutual Waiver of Consequential Damages. The Lessee agrees to
                                       waive all claims against Clearspan for all consequential damages
            25                         that may arise out of our relate to this Agreement including all
                                       consequential damages that may arise out of or relate to this
            26                         Agreement including but not limited to the Lessee’s loss of use of
                                       the property, all rental expenses incurred, loss of services of
            27                         employees, or loss of reputation....

            28

                 10715.msj.mpa.2.wpd                                                                              13
Filed 09/15/22                                            Case 19-01033                                                Doc 445


                            The clause goes on to likewise limit the damages of the lessor against the lessee.
             1
                            The greenhouse failed, allegedly destroying the cannabis crop. The lessee sued for breach
             2
                 of contract, including $5.4 Million for loss of the crop. The District Court held that the limitation
             3
                 of liability clause was enforceable, stating at p. *4:
             4
                                       A limitation of liability provision is enforceable under Oregon law if
             5                         the provision (1) was bargained for, (2) was called to the other
                                       party’s attention; or (3) is conspicuous. Anderson v. Ashland
             6                         Rental, Inc., 122 Or.App.508, 510 (1993); Atlas Mut. Ins. V. Moore
                                       Dry Kiln, 38 Or App. 111, 114 (1979).
             7

             8              The Court then went into a detailed analysis of the structure of the contract and concluded

             9   that waiver was conspicuous. It noted that it was contained in a separate article of the contract

            10   entitled INSURANCE TO PROTECT THE PROJECT AND WAIVER OF SUBROGATION. It

            11   further reasoned that the waiver was a stand alone section of the contract with its title “Mutual

            12   Waiver of Consequential Damages” in bold face and the same type font of the next of the

            13   document. It should also be noted that the Lilly Court seemed hard on the Plaintiff because the

            14   commodity at issue was marijuana and the argument of lack of “conspicuousness” was not raised

            15   until oral argument.

            16              The limitation of liability clauses in the instant case are procedurally unconscionable under

            17   these principles. They are contained on boilerplate, pre-printed forms without separate initials or

            18   interlineation, so they were not “bargained for” or “called to the other party’s attention.” In the

            19   case of the 11/17/15 Agreement the language is contained at the very back of the contract in an

            20   article labeled “Miscellaneous”. The section at issue is not labeled “Waiver” or “Limitation” as

            21   was in the case in J.Lilly; rather, it is labeled “ICD Liability” and begins with the language “It is

            22   agreed by Owner and ICD that ICD may be liable for damages directly caused by the negligent

            23   acts, errors, and omissions made by ICD”. Only then does the limitation on amount appear. It is

            24   not “conspicuous”. It is therefore unenforceable under the Oregon doctrine of “procedural

            25   unconscionability.

            26

            27                                                   CONCLUSION

            28              Consulting should be compelled to defeat the Plaintiff Trustee’s claims on their merits in

                 10715.msj.mpa.2.wpd                                                                             14
Filed 09/15/22                                      Case 19-01033                                                   Doc 445


                 the unlikely event it can do so. The artificial, one-sided limitation of damages provisions in the
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                 two contracts at issue are unenforceable under Oregon law. The Plaintiff Trustee is entitled to
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                 summary adjudication of this point. Partial summary judgment should be entered accordingly.
             3
                 Dated: September 14, 2022                     Respectfully submitted,
             4
                                                               MacCONAGHY & BARNIER, PLC
             5

             6                                                    /s/     John H. MacConaghy
                                                               By: John H. Macconaghy
             7                                                 Attorneys for Plaintiff,
                                                               Randy Sugarman, Liquidating Trustee
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